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BARBBR & ASSOCIATES, LI.C

 

 

IN THE SUPERIOR COURT FOR THE S'I`ATE OF ALASKA

'§`HIRD JUDICIAL DISTRICT

MICHAEL L. CAREY, )
)
Plainti,f?§ )
) COPY
vs‘ ) Original Received
) No ~ ,
WAL~MART ST{)RES, INC. ) v 6 2312
§ C!efk sf th ‘
Dcfendant, ) 'e ama isath
) Case No. BAN-`l*? -'* }{)Z§Dl;l. LTZ
)

 

CO§_*! ELA! Nf! ‘
COM.ES NGWtheplaizztif§ M{CHABL CAREY, by and through his anomeys, `

BARBER& ASSOCIATES, LLC, and far his campinth against defendant WAL-»
MART STORES, INC., does state and aiiega as fal§aws:

1. That at ail ;§mes material izereto, plaintiff was and is a resident of
Anchorage, Alasi<a,

2. 4 T§zat at ali times materisz hereto, defendant Was and is a De!aware
corporation doirzg business in Anchorage, Alaska.

3. 'I`he defendan£ i$ !iable for the actions andfor failusnes to act of its
emp!oyees under theoriw of vicarious iiability andfnr agency aad]or respondth

superior.

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Carcy v. Wal Mart St_ores, bia
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4. "I`,he defendant ¢;)\wrm>dq major managed and/or occupied and/m
convened a Wal Mart store at 89{)(`3 O!d Seward Highway, Anchorage, A{as§ca.

5. Thf: defendant was doing business as Walmart.

4 6. Th¢ plaintiff was a customer of defendant’s business*

'?. ` 'I`he defendant had a dutyto use mate anc§ di£igezzce to keep and maintain
the premises at 8960 {}ki Seward Highway iii a zozzdition that is reasonable safe for
intended users and free from defects and conditiims vahich would render it dangerous
and unsafe for plaintiff and edgar users, or that present an unreasonable risk ofharm
to piaintiff`ia his §awf`ul use of the premiscs.

8. 011 or about 9110!1?, age ns more of the defendant’§ empioyees
positioned a patio chair in a disp§ay in its store at 8906 Gld Seward Highway.

9. The dispiayed patio ch.a.ixf was precariousiy nplaced..

10. Th¢' dispiayed patio chair ives not stable.

l L Ti;e defendant’s customers Were gumcrized to sit on she displayed patio
chairs in its store.

12. The dcfendam’s employees expecied that customers would sit in the
displayed patio chairs to try them out.

1`3. NG signs prohibited aiding in the displayed patit) chairs in the

defendant”s swre*

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Caxey v. Wal Mart Storcs, film
Pagez ’

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AT’I`ORNEYS AT LAW
821 'N" STREET, SUITE }{53
ANCHORAGE,ALAS|CA 9951}1

BARBER & AS SOCI`ATBS, LLC

 

 

14. No signs warned of any risks uf eustomers sitting on displayed patio
chairs.

§5. 'I`ize §!aintif§ was shappiz§g in Wa§mart at 8900 OId Seward Highway
on 91fo 1?.

161. 'l`h€; plaintiff had a reasonabie expectation that the defendant’s display
patio chair was safely positioned.

1 7~ 'Ihepiainfif`fhad a reagenable expectation that the defendanf’s dis§§ayed
patio chair was stable.

I& The p§aiz:tiffhad a reasonabfe expectation that he could safely sit on the
defendant’s displayed patio chain

19. Wizesz the plaintiffsat in the displayed patio chair on or about 9{§.0/1'?,
the chair tipped and the plaintiff fell‘

20. The §laintifi'*was injured When the chair tipped and caused the p§aintif“f
to fail.

21. ‘l`he plaintiff was reasonany using the chair in the dcfel`ldant’s stare`

22§ One or more efdefendam’s employees positioned the dis§layed patio
chair in an unsafe manner on the display dec§<.

23. One or more of defendant’s employees positioned the displayed patio

chair too c¥ose to the edge of the display deck before the piaintiff 331 in the patio

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Carey m Waf Mart Stozes, fm
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321 "N" STREET. SUITE 133

ANCHORAGE, ALASKA 995{}1

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chain

24. 'I`he defendant was responsible for the safety of patrons a¥; the area

Wherc plaintiff fell and was injured

25. ’I`he defendant was negligent andfor reckless for failure to take steps to
make sure that its displayed patio chair fares safe and causing hamm to the plaintiff for
which the defendaa; is liable

26. Tlxe defendant is liable fee negligent failure to warn of` hazardous or
unsafe conditions whieh was a substantial factor in causing harm to the plaintiff

271 Tlae defendant is liable for negligent training and!or.supervisien amer
retention which was a substantial factor in causing ham to the plaintiff

28. 'I"he plaintiff reported his fall le defendent’a :cpresentafives the day he
fell, on or abou£ 9!£01'§ 7,

29. Tke plaintiff asked to speak with a manager on the day he fel§, 0:1 or

i about 9/§0/1’?.
30, A `Wal Iv*lart em;)§oyee who identified himser as “Mike” spoke with

plaintiff en the day he feli,

31. 'i"hc plaintiff and/or the defec;dant"s employees completed `an incident

report on or about 9}10i'i7.

324 The plaintiff requested a copy of the moment report

4228?0¥ Compiaint
Carey m Wal Mart'Stoms, lne~
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ATTORNEYS AT LAW
821 ‘N" STREET. SUITE ¥f}`,$

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BA.RBBR &ASSQCIATES

FA)L» {907] 276-5317

. PHONE: {90'»"} 278-5858

 

 

3'3, file defendan£‘s representatives re§zsed to give plaintiff a copy o€the

incident report

34‘ "¥he defendant has video surveillance cameras at the 8960 Gid Seward

Highway pr€mises.

3 51 'I‘hc defendant*s video surveiilance cameras captured the plaintist fail
on or about 9/10/17.

36. Tize defendaat*s vid»ea surveillance cameras captured dcfeadant’s
employees positionng the displayed patio chair`before the plainti£i’s fall on or about
9!1(}{1?.

37. 'I`§ze defendant’s viéeo surveillance mem captured the diapiayedpafio
cilair between When the dcfendant"s employees positioned it and when the piaia¥:iff
fell.

38. ‘I`he defenéant*s repre§entatives have viewed the Video.

39, The defendant’s representative Mike todd plaintiff he had viewed the
video and that "it showed the fal!.

40. The plaintiff requested to gee file video‘

4 Z. "£he defendmt’s septemande refuseé to let plaintiff view the video.

425 The piaintif§.` requested a copy of the video.

43. The defendant"§ representatives refused to give plaintiff a copy oftile

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ATTORNE‘Y’S AT LAW
82| 'N" STREET, SUITI?. 193
ANCHDRAGE. ALASKA 9950§

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video

44. Thc defendant’§ mpre§é!tfatives told plaintiff the Video ofthe fail had
been sent to defende:xt“s aationai headquarters.

45. `Video depicting tile fali is relevant and must be disclosed with initial
disclosuree.

46. Video depicting defendartt' s employees positioning the-patio chair prior
to the fail is relevant and must be disclosed with initiai diselosures.

47‘ `Video between when the defendant’s employees positioned the patio
chair and Wh.en the pie§ntiff_feli is reievaet and must be disclosed with initial
dieclosures.

48. AH. video of the plaintiff before and afterthe fall on the day .ofthe fafl,
on or about 931{}!1?, is relevant and must be disclosed with initi_ai disciosores.

49. 011 informatioo and belie£, the defendant negligently and!or reoiciessly
and/or intention ain set Video reteafioo poiioies to review and keep video afoustomem
claiming injury, but not of the ompioyee conduct which gave rise to the inj ury.

50. 911 information and beiief, the defendant failed to retain video depicting
its employees positioning the displayed patio chait before the plaintiff fell,

51, On information and beiief, the defendant negligently and/or recklessly

addict intentionain spoliated video showing its employees positioning the dispiayed

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Carey v. Wal Mm Stores, lnc.

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FAX:

ATTORNBYS A’,F LAW
821 "‘N' STKEET, SUITB 103

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BARBER & ASSOCIATES, LLc

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‘patio_ chain

52. fm information ami balic£_ defendant did not retain video of its
empioyees’ conduct prior to mistaer falls print falling injuries captuer on video
surveillance at the defeadant’s stores nationwide,

53. Fali prevention policies at the defendant‘s store were set by W`ai-§vlarf
Stores, Inc based on incidents and experiences at Wa|mart stores nationwide.

54. Prior fix the plaintist fail, the c§efendani‘ negligently and!or recklesst
and/or intentionalfy failed to mike reasumzble steps to prevent customer fall injuries,
incinding but not limited to reasonany investigating :m§ioyee conduct giving rise to
customer injuries.

55. Prior to the plaintiff‘s faii, the defendant failed fe take reasonable steps

to identify where and/or how ta set up ¥.he patio chair to prevent injury to customcrs.

56. The de'f`en§ant’s cer;duct_evidenced reckless indifferenceto the interests
of owen anci!or was outrageous.

57 . "§`he defendant is iiab!e far punitive &;:zd!or exemplary damage§.

58, The defendant is liable far past andfor fixturc: medical expense, pain,
su§`ering, disability loss of enjoyment §§ iife, incenve:xience, physical 'u:nl:)airment1
1033 ofeérnings, loss ofeaming capacity, loss of non alarket household servic’:es, and

other non~pecuniary damages to be more fu¥ly set forth at tria§, ail ira an amounz in an

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Caxey v. Wal Mart Stores, lnc.

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amount in excess of`$l(}G,GG€).GG {GNE HUNDRED THOUSAND DOLLARS), the
exact mount to he set by the trier of fact 4

WHEREPGRE, having fully pled the plaintiff's compiaim‘, plaintiff requests
a judgment agaith defendant in excess §§ $iO0,00{).OG (DNB HUN§)RED
THOUSAND DGLLARS} to be establis§wd by the trier of fact, plus interest, costs and

attaway fees and such other relief as the court deems j'ust.

DATEI:) arm¢hmge, Azaska wis § day ofNov¢mb@r, 2017.

BARBER & ASSOCIATES, LLC
Attorncys for P!aintif`f

By¢ w

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AK Bar #1205041

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